                 Case 1:08-cv-00001-GSA Document 33 Filed 09/04/09 Page 1 of 2


 1
 2
 3
 4
 5
 6
 7                        UNITED STATES DISTRICT COURT
 8                               EASTERN DISTRICT OF CALIFORNIA
 9   JOSEPH CAMPOS,                               ) 08-cv-0001 GSA
                                                  )
10                                                )
                                                  )
11                                                ) THIRD AMENDED SCHEDULING
                           Plaintiff,             ) CONFERENCE ORDER
12                                                )
            v.                                    )
13                                                )
     CITY OF MERCED et al.,                       )
14                                                )
                                                  )
15                                                )
                                                  )
16                         Defendants.            )
                                                  )
17
18          On September 3, 2009, a status conference was held. Juan Falcon appeared personally on
19   behalf of the Plaintiff, and Dale Allen appeared telephonically on behalf of the Defendants. At
20   the status conference, the Court set a revised schedule in this case. The new deadlines are as
21   follows :
22                              Non-expert Discovery : November 1, 2009
23                                Expert Disclosure : November 16, 2009
24                            Supplemental Disclosure : November 30, 2009
25                           Expert Discovery Deadline : December 31, 2009
26                              Non-Dispositive Motions : January 8, 2010
27                                Dispositive Motions : January 29, 2010
28                           Pretrial Conference : April 15, 2010 at 11:00 am

                                                     1
               Case 1:08-cv-00001-GSA Document 33 Filed 09/04/09 Page 2 of 2


 1
                                       Trial : June 15, 2010 at 8:30 am
 2
            All hearings and the trial will be held in Courtroom 10. The parties shall notify the court
 3
     immediately if they are not able to comply with these amended dates. Any requests for future
 4
     continuances will need to establish good cause in order for the Court to make additional
 5
     amendments to this schedule. The parties are also advised that all other orders contained in Judge
 6
     O’Neill’s scheduling order issued on April 4, 2008, remain in full force and effect.
 7
            In addition to the above, Plaintiff indicated in the joint case status report that he will
 8
     abandon his conspiracy claims. Plaintiff is advised that any dismissal papers regarding any claims
 9
     or causes of action shall be filed no later than September 30, 2009.
10
            Failure to comply with this order may result in this imposition of sanctions.
11
12
13
           IT IS SO ORDERED.
14
       Dated:       September 3, 2009                          /s/ Gary S. Austin
15 6i0kij                                               UNITED STATES MAGISTRATE JUDGE
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                        2
